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             BEFORE THE UNITED STATES JUDICIAL PANEL
                  ON MULTIDISTRICT LITIGATION

In re: Oral Phenylephrine                 )
Marketing and Sales Practices             )   MDL No. 3089
Litigation                                )
                                          )


                    NOTICE OF POTENTIAL TAG-ALONG ACTION

      Per Rule 6.2(d) of the Rules of Procedure for the United States Judicial Panel

on Multidistrict Litigation, Tiffany Travis and Newton’s Pharmacy advise of the

potential tag-along actions listed on the attached Schedule of Actions.

      Docket sheets and complaints for the potential tag-along actions are attached.


Dated: October 4, 2023                    Respectfully submitted,

                                          By: /s/ Alyson S. Beridon
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